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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TOHO CO., LTD.,

       Plaintiff,                                            Civil Action No.: 1:21-cv-04993

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                          COMPLAINT

       Plaintiff, TOHO CO., LTD. (“TOHO” or “Plaintiff”), hereby files this Complaint against

the Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”), and hereby alleges as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq. 28 U.S.C. § 1338(a)–(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under the

laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a) because the state law claims are so

related to the federal claims that they form part of the same case or controversy and derive from a

common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Aliases, Defendant Internet Stores,

and/or the online marketplace accounts identified in Schedule A attached hereto (collectively, the
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“Defendant Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois

residents by operating one or more commercial, interactive internet stores through which Illinois

residents can purchase products bearing counterfeit versions of TOHO’s trademarks. Each of the

Defendants has targeted sales from Illinois residents by operating internet stores that offer shipping

to the United States, including Illinois, accept payment in U.S. dollars and, on information and

belief, has sold products bearing counterfeit versions of Plaintiff’s federally registered trademarks

to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging

in interstate commerce, and has wrongfully caused TOHO substantial injury in the State of Illinois.

        3.       This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this judicial district, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

judicial district.

                                         INTRODUCTION

        4.       This action has been filed by Plaintiff to combat online counterfeiters who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection with

Plaintiff’s GODZILLA Trademarks, which are covered by U.S. Trademark Registration Nos.

6,172,295; 4,183,291; 2,360,489; 2,211,328; 2,134,696; 1,858,403; 1,161,858; 1,163,122 and

5,093,240 (collectively the “GODZILLA Trademarks”). The registrations are valid, subsisting,

unrevoked, and uncancelled. Among these GODZILLA Trademarks, 4,183,291; 2,360,489;

2,211,328; 2,134,696; 1,858,403; 1,161,858; and 1,163,122 are incontestable pursuant to 15

U.S.C. § 1065. The registrations for the trademarks constitute prima facie evidence of validity and

of Plaintiff’s exclusive right to use the trademarks pursuant to 15 U.S.C. § 1057(b). Genuine and




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authentic copies of the U.S. federal trademark registration certificates for the GODZILLA

Trademarks are attached as Exhibit 1.

       5.      In the past, TOHO was able to police its marks against identifiable infringers and

counterfeiters. The rise of online retailing, coupled with the ability of eCommerce sites to hide

their identities, has made it nearly impossible for policing actions to be undertaken. The aggregated

effect of the mass counterfeiting that is taking place has overwhelmed Plaintiff and its ability to

police its rights against the hundreds of anonymous defendants which are selling illegal

counterfeits at prices substantially below an original:

                                            ORIGINAL




https://www.amazon.com/Godzilla-Classic-Burning-Figure-35444/dp/B08WRW52FQ

                                         COUNTERFEIT




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       6.      The above example evidences a cooperative counterfeiting network using fake

eCommerce storefronts designed to appear to be selling authorized products. To be able to offer the

counterfeit products at a price substantially below the cost of the original, while still being able to

turn a profit after absorbing the cost of manufacturing, advertising and shipping, requires an

economy of scale only achievable through a cooperative effort throughout the supply chain. As

Homeland Security’s recent report confirms, counterfeiters act in concert through coordinated supply

chains and distribution networks to unfairly compete with legitimate brand owners while generating

huge profits for the illegal counterfeiting network:

       Historically, many counterfeits were distributed through swap meets and individual
       sellers located on street corners. Today, counterfeits are being trafficked
       through vast e-commerce supply chains in concert with marketing, sales, and
       distribution networks. The ability of e-commerce platforms to aggregate
       information and reduce transportation and search costs for consumers provides a
       big advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural geographical
       sales area.
                                                ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to
       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.
                                                ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.

See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
goods), at 10, 19 (emphasis added) attached hereto as Exhibit 2.




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        7.      The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence,

or series of transactions or occurrences. Defendants use aliases to avoid liability by going to great

lengths to conceal both their identities as well as the full scope and interworking of their illegal

network. Despite deterrents such as takedowns and other measures, the use of aliases enables

counterfeiters to stymie authorities:

        The scale of counterfeit activity online is evidenced as well by the significant efforts
        e-commerce platforms themselves have had to undertake. A major e-commerce
        platform reports that its proactive efforts prevented over 1 million suspected bad
        actors from publishing a single product for sale through its platform and blocked
        over 3 billion suspected counterfeit listings from being published to their
        marketplace. Despite efforts such as these, private sector actions have not been
        sufficient to prevent the importation and sale of a wide variety and large volume of
        counterfeit and pirated goods to the American public.
                                                   ...
        A counterfeiter seeking to distribute fake products will typically set up one or more
        accounts on online third-party marketplaces. The ability to rapidly proliferate third-
        party online marketplaces greatly complicates enforcement efforts, especially for
        intellectual property rights holders. Rapid proliferation also allows counterfeiters
        to hop from one profile to the next even if the original site is taken down or blocked.
        On these sites, online counterfeiters can misrepresent products by posting pictures
        of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                   ...
        Not only can counterfeiters set up their virtual storefronts quickly and easily, but
        they can also set up new virtual storefronts when their existing storefronts are shut
        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors.

Id. at 5, 11, 12.

        8.      eCommerce giant Alibaba has also made public its efforts to control counterfeiting

on its platform. It formed a special task force that worked in conjunction with Chinese authorities

for a boots-on-the-ground effort in China to stamp out counterfeiters. In describing the counterfeiting

networks it uncovered, Alibaba expressed its frustration in dealing with “vendors, affiliated dealers




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and factories” that rely upon fictitious identities that enable counterfeiting rings to play whack-a-

mole with authorities:




See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017), available
at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 3)

       9.      TOHO has been and continues to be irreparably damaged through consumer

confusion, dilution, loss of control over its reputation and goodwill, as well as the quality of goods

bearing the GODZILLA Trademarks. The rise of eCommerce as a method of supplying goods to

the public exposes brand holders and creators that make significant investments in their products

to significant harm from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organisation for
       Economic Cooperation and Development (OECD) report, which details a 154
       percent increase in counterfeits traded internationally — from $200 billion in 2005
       to $509 billion in 2016. Similar information collected by the U.S. Department of



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        Homeland Security (DHS) between 2000 and 2018 shows that seizures of
        infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
        year to 33,810.
                                                   …
        The rise in consumer use of third-party marketplaces significantly increases the
        risks and uncertainty for U.S. producers when creating new products. It is no longer
        enough for a small business to develop a product with significant local consumer
        demand and then use that revenue to grow the business regionally, nationally, and
        internationally with the brand protection efforts expanding in step. Instead, with the
        international scope of e-commerce platforms, once a small business exposes itself
        to the benefits of placing products online — which creates a geographic scope far
        greater than its more limited brand protection efforts can handle — it begins to face
        increased foreign infringement threat.
                                                  ...
        Moreover, as costs to enter the online market have come down, such market entry
        is happening earlier and earlier in the product cycle, further enhancing risk. If a new
        product is a success, counterfeiters will attempt, often immediately, to outcompete
        the original seller with lower-cost counterfeit and pirated versions while avoiding
        the initial investment into research and design.
                                                  ...
        Counterfeiters have taken full advantage of the aura of authenticity and trust that
        online platforms provide. While e-commerce has supported the launch of thousands
        of legitimate businesses, their models have also enabled counterfeiters to easily
        establish attractive “store-fronts” to compete with legitimate businesses.

See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020, (Exhibit 2)
at 4, 8, 11.

        10.     Not only are the creators and brand holders harmed, but the public is harmed as well:

        The rapid growth of e-commerce has revolutionized the way goods are bought and
        sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
        our communities and homes. Illicit goods trafficked to American consumers by e-
        commerce platforms and online third-party marketplaces threaten public health and
        safety, as well as national security. This illicit activity impacts American innovation
        and erodes the competitiveness of U.S. manufacturers and workers.
        The President’s historic memorandum provides a much warranted and long overdue
        call to action in the U.S. Government’s fight against a massive form of illicit trade
        that is inflicting significant harm on American consumers and businesses. This
        illicit trade must be stopped in its tracks.

Id. at 3, 4. (Underlining in original).

        11.     Plaintiff’s investigation shows that the telltale signs of an illegal counterfeiting ring

are present in the instant action. For example, Schedule A shows the use of store names by the



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Defendant Internet Stores that employ no normal business nomenclature and, instead, have the

appearance of being made up, or if a company that appears to be legitimate is used, online research

shows that there is no known address for the company. Thus, the Defendant Internet Stores are using

fake online storefronts designed to appear to be selling genuine Plaintiff’s products, while selling

inferior imitations of Plaintiff’s products. The Defendant Internet Stores also share unique

identifiers, such as design elements and similarities of the counterfeit products offered for sale,

establishing a logical relationship between them and suggesting that Defendants’ illegal operations

arise out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid liability by going to great lengths to conceal both their identities and the full scope

and interworking of their illegal counterfeiting operation. Plaintiff is forced to file this action to

combat Defendants’ counterfeiting of Plaintiff’s registered trademarks, as well as to protect

unknowing consumers from purchasing unauthorized GODZILLA Products over the Internet.

        12.       This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and this judicial district, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and this

judicial district. In addition, each defendant has offered to sell and ship infringing products into

this judicial district.

                                         THE PLAINTIFF

        13.       Plaintiff, TOHO CO., LTD. acts as the Sales, Marketing, Design and Distribution

arm of GODZILLA products for the Americas and has a place of business at 1-2-2, Yurakucho,

Chiyoda-ku, Tokyo 100-8415 Japan. TOHO is a foreign company organized and existing under

the laws of Japan.




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       14.     Plaintiff is a Japanese film, theatre production and distribution company. TOHO’s

most famous creation is GODZILLA, which was introduced in 1954. GODZILLA is one of

TOHO’s longest continuously running movie franchises. GODZILLA is featured in 32 of the

company’s films. Godzilla, Rodan, Mothra, King Ghidorah, and Mechagodzilla are described as

TOHO’s Big Five because of the monsters’ numerous appearances in all three eras of the franchise,

as well as spin-offs. TOHO also develops, markets, sells and distributes GODZILLA products.

       15.      Plaintiff’s brand, symbolized by the GODZILLA Trademarks, is a recognized

symbol of high-quality merchandise. The GODZILLA Trademarks are distinctive and identify the

merchandise as goods from the Plaintiff. The registrations for the GODZILLA Trademarks

constitute prima facie evidence of its validity and of Plaintiff’s exclusive right to use the

GODZILLA Trademarks pursuant to 15 U.S.C. § 1057 (b).

       16.      The GODZILLA Trademarks have been continuously used and never abandoned.

       17.      Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the GODZILLA Trademarks. As a result, products bearing

the GODZILLA Trademarks are widely recognized and exclusively associated by consumers, the

public, and the trade as being products sourced from Plaintiff.

                                       THE DEFENDANTS

       18.      Defendants are individuals and business entities who, upon information and belief,

primarily reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this judicial district,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores. Each Defendant targets the United States, including

Illinois, and offered to sell and, on information and belief, sold and continues to sell counterfeit




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GODZILLA Products to consumers within the United States, including Illinois and in this judicial

district.

                        THE DEFENDANTS’ UNLAWFUL CONDUCT

        19.     The success of the GODZILLA brand has resulted in its significant counterfeiting.

Defendants conduct their illegal operations through fully interactive commercial websites hosted

on various eCommerce sites, such as eBay, Wish, Alibaba, Ali Express, eBay, DHgate, etc. Each

Defendant targets consumers in the United States, including the State of Illinois, and offered to

sell and, on information and belief, sold and continues to sell counterfeit products that violate

Plaintiff’s intellectual property rights (“Counterfeit Products”) to consumers within the United

States, including the State of Illinois.

        20.     The Defendant Internet Stores intentionally conceal their identities and the full

scope of their counterfeiting operations in an effort to deter Plaintiff from learning Defendants’

true identities and the exact interworking of Defendants’ illegal counterfeiting operations. Through

their operation of the Defendant Internet Stores, Defendants are directly and personally contributing

to, inducing and engaging in the sale of counterfeit products as alleged, oftentimes as partners, co-

conspirators and/or suppliers. Upon information and belief, Defendants are an interrelated group

of counterfeiters working in active concert to knowingly and willfully manufacture, import,

distribute, offer for sale, and sell counterfeit products.

        21.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the GODZILLA Trademarks, including

its exclusive right to use and license such intellectual property and the goodwill associated

therewith.




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       22.      Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of Defendant

Internet Stores. Defendants also appear to intentionally omit accurate contact information when

registering their respective stores. Upon information and belief, Defendants regularly create new

websites and online marketplace accounts on various platforms using at least the identities listed

in Schedule A to the Complaint, as well as other unknown fictitious names and addresses. Such

Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their massive

counterfeiting operation, and to avoid being shut down.

       23.     The counterfeit GODZILLA Products for sale in the Defendant Internet Stores bear

similarities and indicia of being related to one another, suggesting that the counterfeit GODZILLA

Products were manufactured by and come from a common source and that, upon information and

belief, Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same store name registration patterns, unique shopping cart

platforms, accepted payment methods, check-out methods, metadata, illegitimate SEO tactics,

HTML user-defined variables, lack of contact information, identically or similarly priced items

and volume sales discounts, similar hosting services, similar name servers, and the use of the same

text and images.

       24.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

online marketplace accounts under new aliases once they receive notice of a lawsuit.

Counterfeiters also often move website hosting to rogue servers located outside the United States




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once notice of a lawsuit is received. Rogue servers are notorious for ignoring takedown demands

sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection. A 2019 U.S.

Customs and Border Protection report on seizure statistics indicated that E-Commerce sales have

contributed to large volumes of low-value packages imported into the United States. Department

of    Homeland        Security,    Intellectual        Property     Rights,   September      2020.

(https://www.cbp.gov/sites/default/files/assets/documents/2020-

Sep/FY%202019%20IPR%20Statistics%20Book%20%28Final%29.pdf), at 12 attached hereto as

Exhibit 4. In FY 2019, there were 144 million express shipments and 463 million international

mail shipments. Over 90 percent of all intellectual property seizures occur in international mail

and express environments. Id.

       25.     Further, counterfeiters such as Defendants, typically operate multiple credit card

merchant accounts and third-party accounts, such as PayPal, Inc. ("PayPal") accounts, behind

layers of payment gateways so that they can continue their operation in spite of Plaintiff’s

enforcement efforts. Upon information and belief, Defendants maintain off-shore bank accounts

and regularly move funds from their PayPal accounts to off-shore bank accounts outside the

jurisdiction of this Court. Indeed, analysis of PayPal transaction logs from previous similar cases

indicates that offshore counterfeiters regularly move funds from U.S.-based PayPal accounts to

China-based bank accounts outside the jurisdiction of this Court.

       26.     Upon information and belief, Defendants also deceive unknowing consumers by

using the GODZILLA Trademarks without authorization within the content, text, and/or meta tags

of their websites to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for GODZILLA Products. Additionally, upon information and




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belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Internet Store listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine GODZILLA Products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new Defendant Internet Stores to the

top of search results after others are shut down.

        27.     Defendants’ use of the GODZILLA Trademarks on or in connection with the

advertising, marketing, distribution, offering for sale and sale of the counterfeit products is likely

to cause and caused confusion, mistake and deception by and among consumers and is irreparably

harming Plaintiff. Defendants have manufactured, imported, distributed, offered for sale and sold

counterfeit products using the GODZILLA Trademarks and continue to do so.

        28.     Defendants, without authorization or license from Plaintiff, knowingly and

willfully used and continue to use the GODZILLA Trademarks in connection with the

advertisement, offer for sale and sale of the counterfeit products, through, inter alia, the internet.

The counterfeit products are not genuine GODZILLA Products. Plaintiff did not manufacture,

inspect or package the counterfeit products and did not approve the counterfeit products for sale

or distribution. The Defendant Internet Stores offer shipping to the United States, including Illinois,

and, on information and belief, each Defendant sold counterfeit products into the United States,

including Illinois.

        29.     Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling counterfeit goods that infringe upon the GODZILLA Trademarks unless

preliminarily and permanently enjoined.

        30.     Defendants’ use of the GODZILLA Trademarks in connection with the advertising,

distribution, offering for sale, and sale of counterfeit GODZILLA Products, including the sale of




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counterfeit GODZILLA Products into Illinois, is likely to cause and caused confusion, mistake,

and deception by and among consumers and is irreparably harming Plaintiff.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       31.      Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       32.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered GODZILLA Trademarks

in connection with the sale, offering for sale, distribution, and/or advertising of infringing goods.

The GODZILLA Trademarks are highly distinctive. Consumers have come to expect the highest

quality from Plaintiff’s products provided under the GODZILLA Trademarks.

       33.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

the GODZILLA Trademarks without Plaintiff’s permission.

       34.     Plaintiff is the exclusive owner of the GODZILLA Trademarks. Plaintiff’s United

States Registrations for the GODZILLA Trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in the GODZILLA

Trademarks, and are willfully infringing and intentionally using counterfeits of the GODZILLA

Trademarks. Defendants’ willful, intentional and unauthorized use of the GODZILLA Trademarks

are likely to cause and is causing confusion, mistake, and deception as to the origin and quality of

the counterfeit goods among the general public.

       35.      Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.




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       36.      Plaintiff has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known GODZILLA Trademarks.

       37.      The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of counterfeit GODZILLA Products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       38.      Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

       39.      Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

GODZILLA Products created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit GODZILLA Products by Plaintiff.

       40.      By using the GODZILLA Trademarks in connection with the sale of counterfeit

GODZILLA Products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit GODZILLA Products.

       41.      Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the counterfeit GODZILLA Products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       42.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.




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                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       43.        Plaintiff repeats and incorporates by reference herein their allegations contained in

the above paragraphs of this Complaint.

       44.        Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit GODZILLA Products as those of Plaintiff, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

GODZILLA Products, representing that their products have Plaintiff’s approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

       45.       The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       46.       Plaintiff has no adequate remedy at law, and Defendants’ conduct caused Plaintiff

to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff will suffer

future irreparable harm as a direct result of Defendants’ unlawful activities.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

acting for, with, by, through, under, or in active concert with them be temporarily preliminarily,

and permanently enjoined and restrained from:

       a. using the GODZILLA Trademarks or any reproductions, counterfeit copies, or

              colorable imitations thereof in any manner in connection with the distribution,




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     marketing, advertising, offering for sale, or sale of any product that is not a genuine

     GODZILLA product or is not authorized by Plaintiff to be sold in connection with the

     GODZILLA Trademarks;

  b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

     GODZILLA product or any other product produced by Plaintiff that is not Plaintiff’s

     or not produced under the authorization, control, or supervision of Plaintiff and

     approved by Plaintiff for sale under the GODZILLA Trademarks;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit GODZILLA Products are those sold under the authorization, control, or

     supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with

     Plaintiff;

  d. further infringing the GODZILLA Trademarks and damaging Plaintiff’s goodwill;

  e. otherwise competing unfairly with Plaintiff in any manner;

  f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for

     sale, and which bear any Plaintiff’s trademarks, including the GODZILLA Trademarks,

     or any reproductions, counterfeit copies, or colorable imitations thereof; and

  g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     Defendant Internet Stores, or any other online marketplace account that is being used to

     sell or is the means by which Defendants could continue to sell counterfeit GODZILLA

     Products.




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       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph 1,

a through g, above;

       3) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as, but not limited to,

DHgate, Alibaba Group Holding Ltd., Alipay.com Co., Ltd., AliExpress and any related Alibaba

entities (collectively, “Alibaba”), social media platforms, Facebook, YouTube, LinkedIn, Twitter,

Internet search engines such as Google, Bing and Yahoo, web hosts for the Defendant Internet

Stores, and online marketplace account registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit GODZILLA Products using the GODZILLA

           Trademarks, including any accounts associated with the Defendants listed on Schedule

           A;

       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit GODZILLA Products using the GODZILLA

           Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Internet Stores identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Internet Stores from any search index;

       4) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for




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infringement of the GODZILLA Trademarks be increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;

       5) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the GODZILLA Trademarks;

       6) That Plaintiff be awarded its reasonable attorneys’ fees and costs;

       7) Award any and all other relief that this Court deems just and proper.

DATED: September 21, 2021                           Respectfully submitted,

                                                    /s/ Keith A. Vogt
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                                                    ATTORNEY FOR PLAINTIFF




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